  Case 2:24-cv-05205-FMO-MAA                 Document 105        Filed 04/17/25   Page 1 of 2 Page ID
                                                  #:3449
                                 UNITED STATES DISTRICT COURT
                                CENTRAL DISTRICT OF CALIFORNIA

                                         CIVIL MINUTES - GENERAL
 Case No.           CV 24-5205 FMO (MAAx)                                  Date   April 17, 2025
 Title              Jacquelyn Jackie Lacey v. State Farm General Insurance Company, et al.




 Present: The Honorable             Fernando M. Olguin, United States District Judge
          Vanessa Figueroa                                    None                          None
                Deputy Clerk                      Court Reporter / Recorder                Tape No.
                Attorney Present for Plaintiff:                    Attorney Present for Defendant:
                        None Present                                       None Present
 Proceedings:                (In Chambers) Order Re: Further Proceedings

      Having reviewed and considered the parties’ Joint Stipulation and Request for Order
Extending Deadlines (Dkt. 104, “Stipulation”), IT IS ORDERED THAT:

         1. The Stipulation (Document No. 104) is granted as set forth in this Order.

       2. Any fact discovery ordered by the Special Master with respect to the attorney deposition
and privilege disputes discussed during the April 7, 2025 hearing shall be completed as ordered
notwithstanding the fact discovery cutoff.

         3. All expert discovery shall be completed by June 5, 2025.

        4. The parties shall complete their settlement conference before a private mediator
(“settlement officer”) no later than July 31, 2025. Plaintiffs’ counsel shall contact the settlement
officer with enough time so that the settlement conference date is early enough to comply with the
settlement completion deadline imposed by this court. After obtaining available dates from the
settlement officer, counsel for the parties shall confer and select one of the proposed dates.
Plaintiffs’ counsel shall then advise the settlement officer of the settlement conference date
selected by parties. If the case settles, counsel shall file a Notice of Settlement no later than 24
hours after the case is settled, stating when they expect to file their dismissal papers. Otherwise,
the parties must, no later than 48 hours after the settlement conference is completed, file
a Status Report Re: Settlement. The Status Report shall not disclose the parties’ settlement
positions, i.e., the terms of any offers or demands. The Status Report shall describe the efforts
made by the parties to resolve the dispute informally, i.e., the occasions and dates when the
parties participated in mediation or settlement conferences. The Status Report shall also include
the name of the settlement officer who assisted the parties with their settlement conference.

       5. Any motion for summary judgment or other potentially dispositive motion (other than a
motion under Rule 12(b)(6)) shall be filed no later than August 29, 2025, and noticed for hearing
regularly under the Local Rules. Any untimely or non-conforming motion will be denied. All
potentially dispositive motions shall comply with the requirements set forth in the Court’s Order Re:
CV-90 (06/04)                                 CIVIL MINUTES - GENERAL                                Page 1 of 2
  Case 2:24-cv-05205-FMO-MAA           Document 105        Filed 04/17/25     Page 2 of 2 Page ID
                                            #:3450
                           UNITED STATES DISTRICT COURT
                          CENTRAL DISTRICT OF CALIFORNIA

                                   CIVIL MINUTES - GENERAL
 Case No.       CV 24-5205 FMO (MAAx)                                Date     April 17, 2025
 Title          Jacquelyn Jackie Lacey v. State Farm General Insurance Company, et al.

Summary Judgment Motions issued contemporaneously with the filing of this Order. Each party
is allowed one potentially dispositive motion.1

       6. The parties shall file memoranda of contentions of fact and law; witness lists; the Pretrial
Exhibit Stipulation; and joint motions in limine no later than October 24, 2025.


       7. The parties shall lodge their proposed Pretrial Conference Order and file the Joint Jury
Instructions; Disputed Jury Instructions; a joint proposed verdict form; a joint statement of the
case; proposed additional voir dire questions, if desired; and reply memoranda to motions in limine
no later than October 31, 2025.

       The parties shall also send copies of the proposed Pretrial Conference Order; Joint Jury
Instructions; Disputed Jury Instructions; the joint proposed verdict form; the joint statement of the
case; and any proposed additional voir dire questions, to the chambers e-mail address
(fmo_chambers@cacd.uscourts.gov) in WordPerfect (the court’s preference) or Word format.

     8. The final pretrial conference and hearing on motions in limine is scheduled for
November 14, 2025, at 10:00 a.m.

        9. The trial is scheduled to begin on Tuesday, December 2, 2025, at 9:00 a.m. On the
first day of trial, counsel must appear at 8:45 a.m. to discuss preliminary matters with the court.




                                                                                 00      :     00
                                                       Initials of Preparer            vdr




         1
        A motion filed pursuant to Rule 12(c) more than 21 days after the pleadings are closed
will be deemed a dispositive motion.
CV-90 (06/04)                           CIVIL MINUTES - GENERAL                                Page 2 of 2
